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                     UNITED STATES BANKRUPTCY COURT
                       SOUTHERN DISTRICT OF TEXAS
                             VICTORIA DIVISION

IN RE:                                         §
                                               §
SCOTT VINCENT VAN DYKE,                        §       CASE NO. 21-60052 (CML)
                                               §       (Chapter 7)
       Debtor.                                 §

               DISCLOSURE OF COMPENSATION PURSUANT TO
                 11 U.S.C. § 329 AND FED. R. BANKR. P. 2016(b)

TO THE HONORABLE CHRISTOPHER M. LOPEZ, U.S. BANKRUPTCY JUDGE:

       COMES NOW, THE PROBUS LAW FIRM (“TPLF”), and makes this its Disclosure of

Compensation Pursuant to 11 U.S.C. § 329 and Fed. R. Bankr. P. 2016(b) as follows:

       1. On July 1, 2022, the Debtor, Scott Vincent Van Dyke (the “Debtors”), engaged The

Probus Law Firm to represent him in certain matters, including defense of the adversary

proceedings Michael L. Noel and Sue Noel v. Scott Van Dyke, Adv. Pro. No. 22-6008, and Eva S.

Engelhart, Chapter 7 Trustee of Anglo-Dutch Petroleum International, Inc., Adv. Pro. No. 22-

6002, defense of the objections to exemptions, and defense of the motion for relief from stay by

Cadence Bank regarding the Debtor’s homestead. The compensation paid or agreed to be paid by

the Debtor to TPLF for its services rendered, or to be rendered, in the Debtor’s Chapter 7 case was

on an hourly basis at the rate of $450.00/hour for Mr. Probus and $100/hour for paraprofessionals,

plus expenses. On July 1, 2022, Debtor paid TPLF a retainer in the amount of $25,000.00, which

is being held in TPLF’s IOLTA client trust account to be drawn against.

       2. The source of all payments of fees and expenses to TPLF will be from the Debtor’s

retainer paid and from post-petition income.

       3. TPLF received no transfer, assignment or pledge of property except that stated in

paragraph 1 above.



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       4. TPLF has not shared or agreed to share with any other entity, other than with members

of TPLF, any compensation paid or to be paid.

                                             THE PROBUS LAW FIRM

                                             By:___/s/ Matthew B. Probus ____
                                                   Matthew B. Probus
                                                   Tex. Bar No. 16341200
                                                   Fed. I.D. No. 10915

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                                             ATTORNEYS FOR DEBTOR,
                                             SCOTT VINCENT VAN DYKE




                                CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing was served on all parties,
including the U.S. Trustee, the Chapter 7 Trustee, and all creditors and parties requesting notice,
through the Court’s PACER/ECF system on this 7th day of July 2022.

                                             /s/ Matthew B. Probus
                                             Matthew B. Probus




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